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     Attorneys for County of Alameda Treasurer-Tax Collector
7

8                             UNITED STATES BANKRUPTCY COURT
9                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
10   In Re:                                             Case No.: 17-41704 CN
11            Rosemary Greene                           Chapter 13
12                                                      CREDITOR COUNTY OF ALAMEDA
                           Debtor(s).                   TREASURER – TAX COLLECTOR’S
13                                                      OBJECTION TO PLAN
14

15            Creditor County of Alameda Treasurer - Tax Collector (“Tax Collector”), objects

16   to Debtor’s Chapter 13 Plan on the following grounds:

17            Debtor’s Plan omits the claims of the Tax Collector.
18            The Tax Collector has claims against the Debtor as follows:
19
              1)    There is a $1243.22 delinquent secured property tax claim against Debtor
20
                    for APN 40A-3457-74 for tax year 2017-18 (see attached Exhibit A). This
21
                    claim is secured by a super-priority statutory lien under California
22
                    Revenue and Taxation (R&T) Code section 2192.1. Also, under 11 USC
23

24                  section 511 and R&T Code section 4103(b), the proper interest rate for

25                  this claim is 1-1/2 percent per month, or 18% per annum.

26            2)    There is a $1243.22 delinquent secured property tax claim against Debtor
27                  for APN 40A-3457-75 for tax year 2017-18 (see attached Exhibit B). This
28
     Objection to Plan, Case
     Case: 17-41704      Doc#No.118
                                 17-41704
                                      Filed:CN
                                             05/30/18   Entered: 05/30/18111:20:45     Page 1 of
                                                  15
1                  claim is secured by a super-priority statutory lien under California

2                  Revenue and Taxation (R&T) Code section 2192.1. Also, under 11 USC
3
                   section 511 and R&T Code section 4103(b), the proper interest rate for
4
                   this claim is 1-1/2 percent per month, or 18% per annum.
5
            3)     There is a $1243.22 delinquent secured property tax claim against Debtor
6
                   for APN 40A-3457-76 for tax year 2017-18 (see attached Exhibit C). This
7

8                  claim is secured by a super-priority statutory lien under California

9                  Revenue and Taxation (R&T) Code section 2192.1. Also, under 11 USC

10                 section 511 and R&T Code section 4103(b), the proper interest rate for

11                 this claim is 1-1/2 percent per month, or 18% per annum.
12
            4)     There is a $2815.13 delinquent secured property tax claim against Debtor
13
                   for APN 40A-3457-77 for tax year 2017-18 (see attached Exhibit D). This
14
                   claim is secured by a super-priority statutory lien under California
15
                   Revenue and Taxation (R&T) Code section 2192.1. Also, under 11 USC
16

17                 section 511 and R&T Code section 4103(b), the proper interest rate for

18                 this claim is 1-1/2 percent per month, or 18% per annum.

19
     Dated: May 30, 2018                           DONNA R. ZIEGLER
20                                                 County Counsel, in and for
                                                   County of Alameda, State of California
21

22                                                            / s / Farand Kan
                                                   By:
23                                                     FARAND KAN
                                                       Deputy County Counsel
24                                                 Attorneys for Creditor County of Alameda
                                                   Treasurer-Tax Collector
25

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27

28
     Objection to Plan, Case
     Case: 17-41704      Doc#No.118
                                 17-41704
                                      Filed:CN
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                                         15
1                                   CERTIFICATE OF SERVICE

2           I, Judy A. Martinez, declare:
3           I am a citizen of the United States. I am employed in the County of Alameda,
4    State of California, over the age of 18 years, and not a party to the within proceeding.
5    My business address is 1221 Oak Street, Suite 450, Oakland, CA 94612-4296.
6           On this day, I served a true and accurate copy of the documents entitled:
7           1.     CREDITOR COUNTY OF ALAMEDA TREASURER – TAX
                   COLLECTOR’S OBJECTION TO PLAN and
8

9           2.     CERTIFICATE OF SERVICE.

10   on each of the following parties in this action:

11
     (X)    BY CM/ECF: I caused such documents to be electronically transmitted via the
12          U.S. Court’s Case Management/Electronic Case Files system to the offices of the
            addressees.
13

14          I declare under penalty of perjury that the foregoing is true and correct to the best

15   of my knowledge. Executed at Oakland, California, on May 30, 2018.

16
                                        /s/ Judy A. Martinez
17                                          Judy A. Martinez

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28
     Certificate
     Case:       of Service,
             17-41704        Case
                          Doc#    No. 17-41704
                                118             CN
                                       Filed: 05/30/18 Entered: 05/30/18 11:20:45     Page 15 of
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